         Case 1:08-cv-00700-PEC Document 41 Filed 03/12/10 Page 1 of 1




      In The United States Court of Federal Claims
                                         No. 08-700C

                                    (Filed: March 12, 2010)
                                          __________
 JAY ANTHONY DOBYNS,

                       Plaintiff,

        v.

 THE UNITED STATES,

                       Defendant.
                                          _________

                                          ORDER
                                         __________

        Notwithstanding the provisions of RCFC Appendix A ¶ 4, the parties’ Joint Preliminary
Status Report shall be filed on or before April 2, 2010, and not on May 3, 2010, as indicated
currently on the docket.

       IT IS SO ORDERED.



                                                          s/ Francis M. Allegra
                                                          Francis M. Allegra
                                                          Judge
